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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JEFFREY J. GIZZI and KERRY GIZZI,
husband and Wife,

Plaintiffs,
vs.

CHALLENGER MOTOR FREIGHT, INC.
and
MARTIN RIESS,

Defendants.

#2291 144

CIVIL DIVISION

NO.

Code: 001
COMPLAINT IN A CIVIL ACTION

Filed on behalf of Plaintiffs:
JEFFREY J. GIZZI and KERRY GIZZI

Counsel of Record for These Parties:

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Finn No. 1605

EDGAR SNYDER & ASSOCIATES, LLC
US Steel Tower, lOth Floor

600 Grant Street

Pittsburgh, PA 15219-2705

412-394-1000

JURY TRIAL DEMANDED

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JEFFREY J. GIZZI and KERRY GIZZI, ) CIVIL DIVISION
husband and wife, )
) No.
Plaintiffs, §
VS. )
CHALLENGER MOTOR FREIGHT, INC. §
)
and )
)
MARTIN RIESS, )

Defendants.

COMPLAINT IN A CIVIL ACTION
AND NOW, come Plaintiffs, JEFFREY J. GIZZI and KERRY GIZZI, husband and wife,
by and through their attorneys, EDGAR SNYDER & ASSOCIATES LLC, MICHAEL H.
ROSENZWEIG, ESQUIRE and CHRISTOPHER T. HILDEBRANDT, ESQUIRE and file the
following Complaint in a Civil Action, respectfully averring as follows:
PARTIES
1. Plaintiffs, Jeffrey J. Gizzi and Kerry Gizzi, husband and wife, are adult
individuals who reside at 541 Center Hill Road, Pittsburgh, Allegheny County, Pennsylvania.
Plaintiffs are citizens of the Corninonwealth of Pennsylvania.
2. Defendant, Challenger Motor Freight, Inc., is an entity of unknown precise legal
identity, with offices and a regular place of business located at 300 Maple, Grove Road,

Cambridge, Ontario, Canada. Defendant is a citizen of Canada.

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3. Defendant, Martin Riess, is an adult individual who resides at 3 Buell Street,
Brockville, Ontario, Canada. Upon information and belief, Defendant Riess is a citizen of
Canada.

STATEMENT OF JURISDICTION

4. This case is brought under 28 U.S.C. § 1332(a)(l), based upon diversity of
citizenship Because Plaintiffs are citizens of the Commonwealth of Pennsylvania, Defendants
are citizens of Canada, and the amount in controversy (exclusive Of interest and costs) exceeds
$75,000.00, diversity jurisdiction exists in this Honorable Court.

5. Venue is appropriate in the United States District Court for the Western District
of Pennsylvania since the incident which forms the basis for this Complaint occurred in
Allegheny County, Pennsylvania, as is further described herein below,

STATEMENT OF CLAIM

6. The incident complained of herein occurred on February l9, 2016 at
approximately 9:30 A.M. at Siemens lndustry’s Sagamore Hill Facility, located at 100 Sagamore
Hill Road, Pittsburgh, Allegheny County, Pennsylvania.

7. At all times material hereto, Defendant Challenger Motor Freight, Inc.
(“Challenger”) was engaged in the distribution and trucking of freight and other materials within
the Commonwealth of Pemisylvania, and operated a fleet of tractors and trailers that were used to
transport freight and other materials on the public highways of the Commonwealth of
Pemisylvania.

8. Defendant Challenger operated the fleet of tractors and trailers under authority
issued to it by the United States Department of Transportation, and is registered with the Federal

Motor Carrier Safety Administration with a USDOT number of 247765.

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9. At all times material hereto, Plaintiff Jeffrey Gizzi was an employee of Siemens
Industry and was working in the course and scope of his employment with Siemens lndustry.

10. At all times material hereto, Defendant Martin Riess was acting as the agent,
servant and/or employee of Defendant Challenger.

ll. On or about February 19, 2016, Defendant Riess was operating a tractor and
flatbed trailer, upon which Was loaded a large electrical transformer.

12. The large electrical transformer Was transported by Defendants Challenger and
Riess to Siemens Industry’s Sagamore Hill Facility.

13. At the aforesaid time and place, Plaintiff Jeffrey Gizzi was standing on a ladder,
which had been placed on the flatbed trailer, preparing the large electrical transformer for
repositioning from the center of the flatbed trailer to the rear of the flatbed trailer.

l4. Without warning or notice, Defendant Riess began to move the tractor and flatbed
trailer forward, causing the large electrical transformer to shift, thereby striking the ladder upon
which Plaintiff Jeffrey Gizzi was standing, causing Plaintiff Jeffrey Gizzi to be thrown to the
ground.

15. As a direct and proximate result of the aforesaid incident, Plaintiff Jeffrey Gizzi

suffered the following injuries, some or all of which may be pennanent in nature:
a. Left-sided highly communited intra-articular olecranon fracture;

b. Left-sided comminuted radial head fracture with displaced intra-articular
fracture fragments;

c. Left-sided acute fractures of proximal radius and ulna with intra-articular
extension and apparent posterior dislocation of both bones from the
humerus;

d. Right-sided comminuted radial head fracture with medially displaced

intra-articular fracture fragments;

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11.

Right-sided lateral subluxation of the radial head With respect to the
capitellum;

Right-sided avulsion fracture of the coronoid process with anterior
subluxation of the trochlea;

Right-sided nondisplaced irnpaction fractures involving the trochlea and
capitellum;

Right-sided posterior elbow dislocation with acute fracture of the proximal
ulna;

Bilateral soft tissue swelling of the elbow joint;
Closed reduction with manipulation of bilateral elbows;

Open reduction and internal fixation of the left olecranon transarticular
fracture-dislocation with reduction of the radius/proximal radio-ulnar
joint;

Open reduction and internal fixation of the left proxirnal ulna;
Open reduction and internal fixation of the left ulna shaft;

Open reduction and internal fixation of the right acute, unstable elbow
dislocation;

Open reduction and internal fixation of the right proximal ulna/radius
fracture-dislocation;

Right-sided lateral collateral ligarnent repair;

Bilateral open reduction and treatment of the lateral lrumeral conder
fractures;

Bilateral open reduction and internal fixation of the radial head fracture-
dislocation with prosthetic placement;

Bilateral elbow joint arthrotomy;

Loss of range of motion of bilateral upper extremities;
Bilateral upper extremity pain;

Laceration over bridge of nose;

Laceration over the left eyebrow;

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x. Severe shock, strain or sprain of the nerves, muscles, tissues, ligarnents
and vessels of the musculoskeletal system; and

y. Other serious and severe injuries as the medical records may reveal or
which have yet to be diagnosed.

16. As a further direct and proximate result of the aforesaid collision, Plaintiff-
Husband has been and will be obliged to receive and undergo medical attention and care and to
expend various sums of money and to incur various expenses and may be obligated to expend
such sums or incur such expenditures for an indefinite time into the firture.

l7. As a further result of this incident, Plaintiff-Husband has suffered severe physical
pain, mental anguish, humiliation, embarrassment, fright, loss of enjoyment of life, loss of
vitality, vigor, health and/or strength and will continue to suffer the same for an indefinite time
into the lilture.

18. As a further result of this incident, Plaintiff-Husband suffered a loss of earnings
and/or impairment of earning capacity and power which may be pennanent.

19. As a further direct and proximate result of the aforesaid incident, Plaintiff-
Husband has sustained or may sustain cosmetic disfigurement in the future.

20. As a further direct and proximate result of this incident, Plaintiff-Wife, Kerry
Gizzi, has been damaged and deprived of the society, comfort, companionship, services and
consortium of her lrusband, Plaintiff-Husband, Jeffrey Gizzi.

FIRST CAUSE OF ACTION
Negligence of Martin Riess
21. Plaintiffs incorporate all facts and allegations above into this cause of action by

reference.

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22.

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The aforesaid February 19, 2016 incident, and the injuries and damages suffered

by Plaintiffs, were a direct and proximate result of the negligence, carelessness and wantonness

of Defendant Martin Riess generally and in the following particulars:

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a.

b.

lr.

11'1.

In operating the tractor-trailer truck while being inattentive;
In failing to operate the tractor-trailer truck free of distractions;

In operating the tractor-trailer truck when Defendant was in such mental
and/or physical condition that it was not safe for him to do so;

In operating the tractor-trailer truck in such a manner as to cause and/or
permit Plaintiff-Husband to fall from the flatbed trailer to the ground;

In operating the tractor-trailer truck when Defendant did not know if his
load was secured;

In operating the tractor-trailer truck when Defendant did not have
Plaintiff-Husband in his line-of-sight;

In operating the tractor-trailer truck in a forward direction without proper
authorization;

In operating the tractor-trailer truck in such a manner as to cause the load
to shift;

In operating the tractor-trailer truck in such manner as to cause Plaintiff-
Husband to be thrown to the ground;

In operating the tractor-trailer truck in a forward direction when Defendant
knew or should have known it was not safe to do so;

ln operating the tractor-trailer truck in a forward direction when Defendant
knew or should have known that to do so would cause Plaintiff-Husband
to fall to the ground;

ln operating the tractor-trailer truck in such a manner that Defendant knew
or should have known that the load would shift, causing Plaintiff-Husband
to fall to the ground;

In failing to take any action to avoid moving the tractor-trailer prior to
proper authorization from Siemens Industry employees, including
Plaintiff-Husband;

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aa.

bb.

ln failing to confirm with Siemens Industry employees, including
Plaintiff-Husband, that it was safe to operate the tractor-trailer in a
forward direction prior to doing so;

ln failing to place restrictive devices, such as clrocks and/or blocks, in
front of and/or behind the wheels of the tractor and trailer to assure that
the tractor-trailer truck would not move without notice;

ln failing to mechanically secure the tractor-trailer to the loading dock;

ln failing to utilize glad hand locks to assure that the trailer would not
move without notice;

ln failing to tirnely, promptly and/or properly apply the brakes or other
stopping devices of the tractor-trailer truck so that Plaintiff-Husband

would not be thrown to the ground;

ln failing to take all reasonable and necessary measures to avoid moving
the tractor-trailer truck without notice to Plaintiff-Husband;

In failing to secure clearance to move the tractor-trailer truck from
Siemens Industry employees, including Plaintiff-Husband, prior to
operating the tractor-trailer truck in a forward direction;

In failing to keep and maintain the tractor-trailer truck under proper and
adequate control;

ln failing to observe, or timely observe, Plaintiff-Husband before
operating the tractor-trailer truck in a forward direction;

In failing to keep a safe, carefi,ll and adequate lookout for people on or
around the tractor-trailer truck, including Plaintiff-Husband;

In failing to continually observe Plaintiff-Husband before operating the
tractor-trailer truck in a forward direction;

In failing to maintain a clear line of communication with Siemens Industry
employees, including Plaintiff-Husband, during the unloading process;

In failing to inquire about the details of the unloading process prior to
operating the tractor-trailer truck in a forward direction;

In failing to sound a hom or otherwise give Warning to Plaintiff-Husband
before operating the tractor-trailer truck in a forward direction;

In operating the tractor-trailer truck without proper training, sufficient
experience and/or adequate qualifications to safely control the tractor-
trailer truck during the unloading process;

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cc. ln operating the tractor-trailer truck when Defendant knew or should have
known that the tractor-trailer truck was improperly maintained, dangerous
or unsafe;

dd. In failing to inspect, repair, service and/or otherwise maintain the tractor-

trailer truck in a safe and proper working condition such that failure to do
so resulted in the vehicle being unsafe and dangerous; and

ee. In violating the ordinances, laws and statutes of the Commonwealth of
Pennsylvania and/or United States Department of Transportation and/or
United States Department of Labor as aforesaid relative to the safe
operation and unloading of commercial motor vehicles.

23. The aforesaid incident and the injuries and damages suffered by Plaintiffs were a
direct and proximate result of the aforesaid negligence, carelessness and wantonness of
Defendant Riess.

24. Defendant Riess breached the duty of care owed to Plaintiff Jeffrey Gizzi.

SECOND CAUSE OF ACTION
Negligence of Challenger Motor Freight, Inc.

25. Plaintiffs incorporate all facts and allegations above into this cause of action by
reference

26. At all times relevant, Defendant Challenger acted by and through its officers,
directors, agents, servants and/or employees Who all acted Within the scope and course of their
duties, agency and/or employment and on behalf of and for the benefit of Defendant Challenger.

27. At the time of the aforesaid February 19, 2016 incident, Defendant Riess was
acting as an agent, servant and/or employee of Defendant Challenger, and acting within the
scope and course of his duties, agency and/or employment and furthering his employer’s

interests and was under the control of Defendant Challenger.

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28. The aforesaid February 19, 2016 incident was a direct and proximate result of the

negligence, carelessness and wantonness of Defendant Challenger’s tractor-trailer truck driver,

Defendant Riess, who was negligent as aforesaid.

29. Defendant Challenger is liable to Plaintiffs for the aforesaid acts, conduct,

ornissions, negligence, carelessness and wantonness of Defendant Riess under the doctrines of

vicarious liability, respondeat superior and/or master/ servant responsibility

30. Further, the aforesaid incident was a direct and proximate result of the direct

negligence, carelessness and wantonness of Defendant Challenger who was negligent as follows:

a.

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In failing to establish and/or enforce safe, proper and/or reasonable and
adequate guidelines regulations and/or instructions for its agents, servants
and/or employees, including Defendant Riess, regarding the unloading of
it tractor-trailer trucks;

In failing to establish and/or enforce safe and proper guidelines,
regulations and/or instructions regarding the operation of its vehicles by its
agents, servants and/or employees, including Defendant Riess, for
transporting material by tractor-trailer;

In failing to establish and/or enforce procedures to ensure that the tractor-
trailer truck, operated by its agents, servants and/or employees, including
Defendant Riess, are operated in a manner safe for transporting materials
by tractor-trailer truck on public highway and free of distractions;

ln failing to properly and/or adequately train or retrain its agents, servants,
and/or employees, including Defendant Riess, to inspect, maintain and
operate the tractor trailer in a safe manner such that during the unloading
process, the load does not shift without notice to those people unloading
the tractor-trailer;

In failing to timely, adequately, and/or properly inform, instruct, teach
and/or adequately train or retrain its agents, servants, and/or employees,
including Defendant Riess, to inspect7 maintain and operate the tractor
trailer, in such a manner that the tractor-trailer truck operator does not
move the tractor-trailer truck during the unloading process without notice
to those people unloading the trailer;

In failing to discipline and/or superintend, or adequately, properly and/or
sufficiently discipline and superinterrd its agents, servants and/or
employees, including Defendant Riess;

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h.

ln failing to enforce its own policies and procedures regarding the
instruction, training, education, testirrg, supervision, management, and/or
discipline of its agents, servants and/or employees, including Defendant
Riess;

In failing to properly and/or adequately supervise the operations and/or
management of its agents, servants and/or employees, including Defendant
Riess;

In negligently entrusting the vehicle to Defendant Riess, when the
Defendant Challenger knew, or should have known, that Defendant Riess
Was not capable of safely operating the tractor-trailer truck;

In negligently entrusting the vehicle to Defendant Riess, when the
Defendant Challenger knew, or should have known, that Defendant Riess
was not capable of safely operating the tractor-trailer truck during the
unloading process;

ln allowing or entrusting the tractor-trailer truck to be operated by an
improperly trained and/or unqualified individual or a truck driver prone to
distraction;

ln failing to adopt and/or enforce driver rules and regulations requiring
that the tractor-trailer truck be operated free of distractions;

ln failing to adopt and/or enforce driver rules and regulations regarding
truck drivers’ hours in service;

In failing to adopt and/or enforce driver rules and regulations prohibiting
truck drivers from operating tractor trailer while fatigued or without
adequate rest;

Irr allowing the tractor-trailer truck to be operated by an individual who
was not free of distractiorrs that interfered With the safe operation of the
tractor-trailer truck, which tractor-trailer truck required a commercial
licensed driver to give full and proper attention to the unloading process;

Irr knowingly directing, ordering and/or permitting the tractor-trailer truck
to be operated by Defendant Riess, who lacked proper qualification and/or
fitness to safely operate the vehicle;

In knowingly directing, ordering and/or permitting the tractor trailer to be
operated by Defendant Riess, who was without proper training, sufficient
experience and/or adequate qualification in the unloading of the specific
load being delivered to Siemens Industry at the time of the incident;

ln failing to properly and/or adequately supervise the actions of its agents,
servants and/or employees, including Defendant Riess;

ll

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aa.

In failing to properly and/or adequately instruct, train, retrain, educate,
observe, manage, superintend and/or supervise its agents, servants and/or
employees, including Defendant Riess, as to safe transportation of
materials by tractor-trailer on interstate state higlrways, including the
unloading process;

In failing to timely, properly, fully and/or adequately discipline its
employees;

lrr operating the tractor-trailer truck on the public highway When
Defendant Challenger knew, or should have known, that the tractor-trailer
truck was improperly maintained, dangerous and/or unsafe;

ln failing to timely adopt, enforce and superintend adequate and proper
rules and regulations to ensure that the tractor-trailer truck was properly
inspected, serviced and/or maintained for delivery of the specific load
involved in the incident;

ln failing to exercise that degree of care and caution required of a trucking
company transporting materials on the public highways as set forth herein,
where Defendant Challenger’s failure to do so created a hazard and/or
danger to Plaintiff-Husband during the unloading process;

In allowing the tractor-trailer truck to be unloaded when Defendant
Challenger knew, or should have known, that the tractor-trailer truck was
unsafe because of overuse, overloading, improper maintenance, improper
loading and/or unloading, and/or inadequate inspection;

In allowing individuals without proper training, sufficient experience
and/or adequate qualification in unloading procedures to operate the
tractor trailer;

In failing to provide its driver with the necessary devices, including but
not limited to chocks, blocks and glad hand locks, to assure that the
unloading process would be safe; and

ln violating the ordinances, laws and statutes of the Commonwealth of
Pennsylvania Motor Vehicle Code and/or United States Department of
Transportation and/or Untied States Department of Labor as aforesaid
relative to the safe operation and unloading of commercial motor vehicles.

31. The aforesaid incident and the injuries and damages suffered by Plaintiffs were a

direct and proximate result of the aforesaid negligence, carelessness and wantonness of

Defendant Riess.

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32. Defendant Riess breached the duty of care owed to Plaintiff Jeffrey Gizzi.

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THIRD CAUSE OF ACTION
Vicarious Liability of Defendant Challenger Motor Freight, Inc.

33. Plaintiffs incorporate all facts and allegations above into this cause of action by
reference.

34. At all relevant times, Defendant Riess was the employee, agent, servant, or
independent contractor for Defendant Challenger. Accordingly, Defendant Challenger is
vicariously liable for the acts of Defendant Riess described in the causes of action hereinabove.

35. Regardless of the employment or agency relationship, Defendant Challenger is an

interstate motor carrier responsible for the acts of Defendant Riess, its tractor-trailer truck

 

operator.
FOURTH CAUSE OF ACTION
Strict Liability of Defendant Challenger Motor Freight, lnc.
36. Plaintiffs incorporate all facts and allegations above into this cause of action by
reference.

37. Defendant Challenger Motor Freight, Inc. is the registered owner of USDOT
number 247765 displayed on the tractor-trailer truck involved in this incident and is therefore
responsible for the acts of Defendant Riess.

FIFTH CAUSE OF ACTION
Consortium Claim

38. Plaintiffs incorporate all facts and allegations above into this cause of action by

reference.

39. Plaintiffs Jeffrey Gizzi and Kerry Gizzi were married at the time of the incident,

and remain married.

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40. As a direct and proximate result of Defendants’ negligence and statutory
violations, Plaintiff-Wife, Kerry Gizzi, has been damaged and deprived of the society, comfort,
companionship, services and consortium of her husband, Plaintiff-Husband, Jeffrey Gizzi.

WHEREFORE, Plaintiffs respectfully request judgment in their favor and against all
Defendants, in an amount in excess of $75,000.00, plus delay damages, costs, and other relief
that this Honorable Court deems just under the circumstances

JURY TRIAL DEMANDED.

Respectfully submitted,
EDGAR SNYDER & ASSOCIATES, LLC
By:s/Christonher T. Hildebrandt

Christopher T. Hildebrandt, Esquire
Attomeys for Plaintiffs

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